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 3
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 5
     Counsel for Plaintiffs
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
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11    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
      themselves and all others similarly situated,
12                                                    DECLARATION OF AMY E. KELLER IN
             Plaintiffs,                              SUPPORT OF PLAINTIFFS’
13                                                    ADMINISTRATIVE MOTION TO FILE
             v.                                       UNDER SEAL EXHIBITS 1 AND 2 TO
14                                                    APRIL 15, 2022 DECLARATION OF DAVID
      GOOGLE LLC,                                     STRAITE (DKT. NO. 621-4) IN SUPPORT
15                                                    OF PLAINTIFFS’ OBJECTIONS TO (AND
             Defendant.                               MOTION TO MODIFY) THE SPECIAL
16                                                    MASTER’S SEALED
                                                      RECOMMENDATIONS AND ORDER
17                                                    DATED APRIL 4, 2022 (DKT. NO. 604)

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 1                              DECLARATION OF AMY E. KELLER
 2          I, Amy E. Keller, hereby declare under penalty of perjury:
 3          1.      I am an attorney admitted to practice before this Court pro hac vice in the above‐
 4   captioned matter.
 5          2.      I am an attorney with the law firm DiCello Levitt Gutzler LLC, who, along with the
 6   law firms Bleichmar Fonti & Auld LLP and Simmons Hanly Conroy, LLC, represent Plaintiffs in
 7   the above-captioned matter.
 8          3.      I have personal knowledge of the facts set forth herein and, if called as a witness,
 9   could and would testify competently to them.
10          4.      I submit this declaration in support of Plaintiffs’ Administrative Motion to File
11   Under Seal Exhibits to April 15, 2022 Declaration of David Straite (Dkt. No. 621-4) in Support of
12   Plaintiffs’ Objections to (and Motion to Modify) the Special Master’s Sealed Recommendations
13   and Order Dated April 4, 2022 (Dkt No. 604).
14          5.      Attached as Exhibit 1 is a true and correct copy of the Sealed and Unredacted version
15   of Exhibit 1 to the April 15, 2022 Declaration of David Straite (Dkt. No. 621-4).
16          6.      Attached as Exhibit 2 is a true and correct copy of the Sealed and Unredacted version
17   of Exhibit 2 to the April 15, 2022 Declaration of David Straite (Dkt. No. 621-4).
18          7.      These exhibits are being filed consistent with the Court’s instructions as Dkt. No.
19   629 in the event they were inadvertently left off of the combined PDF of the Straite Declaration
20   provisionally filed under seal at Dkt. No. 621-4.
21

22          I declare under penalty of perjury under the laws of the United States that the foregoing is
23   true and correct.
24          Executed this 22nd day of April 2022 in Chicago, Illinois.
25
                                                             /s/ Amy E. Keller
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                                                             Amy E. Keller
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     DECLARATION OF AMY E. KELLER                        1            CASE NO. 4:20-CV-5146-YGR-SVK
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 1                                   CERTIFICATE OF SERVICE
 2          I, Amy Keller, hereby certify that on April 22, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record.
                                                      /s/ Amy E. Keller
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                                                      Amy E. Keller
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     CERTIFICATE OF SERVICE                          2             CASE NO. 4:20-CV-5146-YGR-SVK
